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                                     UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF MISSOURI
                                          EASTERN DIVISION

RUHI REIMER,                                         )
                                                     )
                            Plaintiff,               )      Case No 4:22-CV-01222
                                                     )
v.                                                   )
                                                     )
NORTH STAR INSURANCE                                 )
ADVISORS, LLC, et al.,                               )
                                                     )
                            Defendants.              )

                         CONSENT MOTION
 TO RECONSIDER COURT’S ORDER OF JANUARY 3, 2023 [DOC #8] AND TO GRANT
 DEFENDANT NORTH STAR INSURANCE ADVISORS LLC UNTIL JANUARY 23, 2023
  TO ANSWER, MOVE OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

          Defendant North Star Insurance Advisors, LLC, hereby requests the Court to reconsider its

Order of January 3, 2023 [Document # 8] and set the same aside and grant North Star Insurance

Advisors, LLC, until and including January 23, 2023 to answer, move or otherwise respond to the

Complaint filed herein. In support of this request, North Star Insurance Advisors, LLC, states as

follows:

          1.        Plaintiff consents to this request.

          2.        Prior to and after being served with the Complaint in this action, North Star Insurance

Advisors was providing information to Plaintiff on a voluntary basis to demonstrate the invalidity of

the claims asserted and to attempt to amicably resolve this matter.

          3.        In conjunction with those efforts, Plaintiff’s counsel agreed to a thirty (30) day

extension and agreed that no response would be due by North Star Insurance Advisors, LLC, until

January 13, 2023

          4.        The parties regrettably did not file a consent motion notifying the Court of their

agreement.



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          5.        However, since that time, discussions between the parties have been, and are,

continuing and ongoing.

          6.        Due to the ongoing discussions attempting to amicable resolve this matter, Plaintiff’s

counsel has also agreed to the further extension, to January 23, 2023, requested by this motion..

          7.        In addition, Defendant’s counsel is involved in expedited practice in this Court (Judge

Ross) concerning an ex parte TRO which was entered against a different client on an unrelated matter

and with the pre-hearing matters, deadlines, and required filings relating to the scheduled Preliminary

Injunction in such other matter, set for January 17, 2023. See Fidelity National Title Insurance

Company v APM Management Services, LLC et al; (Case No. 4:22-cv-01391-JAR; Doc [#16] (Pre-

Hearing order)

          8.        Accordingly, in light of Plaintiff’s agreement to the extended response date, the ongoing

discussions between the parties, and the workload of North Star Insurance Advisors, LLC’s counsel

noted above, North Star Insurance Advisors LLC specifically requests until January 23, 2023, to

answer, move or otherwise respond to the instant Complaint if this matter is not otherwise resolved.

          WHEREFORE, for good cause shown, Defendant North Star Insurance Advisors, LLC

respectfully requests the Court to set aside its Order of January 3, 2023 instructing Plaintiff to file a

Motion for Default herein [Doc # 8] and to grant North Star Insurance Advisors, LLC up to and

including January 23, 2023 to move, answer, or otherwise respond to Plaintiff’s complaint herein..

                                                   RIEZMAN BERGER, P.C.

                                                   By: /s/ Charles S. Kramer
                                                   Charles S. Kramer, 34416 (MO)
                                                   Michael R. Cherba, 59642 (MO)
                                                   P. Tyler Connor, 69049(MO)
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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies the above pleading was filed electronically with the Clerk of
the Court on this 9 day of January, 2023, to be served by operation of the Court’s electronic filing
system upon all parties of record.


                                               /s/ Charles S. Kramer




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